Case 3:24-cr-00234-GMM   Document 1-1   Filed 06/28/24   Page 1 of 6
Case 3:24-cr-00234-GMM   Document 1-1   Filed 06/28/24   Page 2 of 6
Case 3:24-cr-00234-GMM   Document 1-1   Filed 06/28/24   Page 3 of 6
Case 3:24-cr-00234-GMM   Document 1-1   Filed 06/28/24   Page 4 of 6
Case 3:24-cr-00234-GMM   Document 1-1   Filed 06/28/24   Page 5 of 6
 Case 3:24-cr-00234-GMM             Document 1-1         Filed 06/28/24                Page 6 of 6




                                           5*<7.MBC.?:';M =.*5'7M1/;CM
                                           <:.7';,M .*E?5CKM;H.BC51'C5<;BM M



!I<AM 5;M '+*<@,';+/MI5C3M C4/M @/>E5@/:/;CBM <0M/,/@'7M F7/M <0M@5:5;(9M @<+/-G@/M  M )JM
C/8.=2<;.M'C M ':M <;ME;.M      M5;M ';ME';ME.?C<M6*<M



                                                            Digitally signed by Hon.
                                                            Giselle Lopez-Soler

                                           <;M5B.77.M­=.LM <7.@M
                                           ";5C.,M C'C/BM'15BC@'C.ME,1.M
                                           5BC@5*CM<0ME.@D<M5*<M




                                              M
